Case 3:12-cr-00204-AET Document 254 Filed 06/22/20 Page 1 of 2 PageID: 13978



                                                             U.S. Department of Justice

                                                             United States Attorney
                                                             District of New Jersey

__________________________________________________________________________________________________________________

                                                             970 Broad Street, 7th floor                       973-645-2700
                                                             Newark, New Jersey 07102


                                                             June 22, 2020

Honorable Anne E. Thompson
United States District Judge
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street
Trenton, New Jersey 08608

        Re:      United States v. C. Tate George, Crim. No. 12-cr-204 (AET)

Dear Judge Thompson:

       This letter is respectfully submitted in lieu of a more formal submission
in response to Defendant C. Tate George’s Motion/Request for an Immediate
Stay of Paying the Court Ordered Restitution Order Due to the COVID-19
Pandemic (Doc. No. 253). As explained below, the Defendant’s Motion should
be denied as moot because the Defendant has not yet been released from
confinement, and the requirement that he pay $200 a month toward his
restitution obligation is not yet in effect.

       In this case, the Court previously ordered that the Defendant “shall make
restitution in the total amount of $2,550,507.28” and that “in the event the
entire restitution is not paid prior to the commencement of supervision, the
defendant shall satisfy the amount due in monthly installments of no less than
$200, to commence 30 days after release from confinement.” (Doc. No. 206 at
6).

        As Defendant explains in his Motion, he is serving the remainder of his
custodial sentence in home confinement, having been released from a Bureau
of Prisons (“BOP”) facility due to the COVOD-19 pandemic. Defendant,
however, has not finished serving his custodial sentence—he is merely serving
the remainder of his sentence in home confinement rather than in a BOP
facility. The Defendant’s release date is currently July 23, 2021.

       As such, the Defendant is still being supervised by BOP, and not by the
United States Probation Office. Furthermore, because the Defendant has not
yet finished serving his custodial sentence, the monthly $200 payments
required upon “[r]elease from confinement,” are not yet required. Because the
Case 3:12-cr-00204-AET Document 254 Filed 06/22/20 Page 2 of 2 PageID: 13979



                                                             U.S. Department of Justice

                                                             United States Attorney
                                                             District of New Jersey

__________________________________________________________________________________________________________________

                                                             970 Broad Street, 7th floor                       973-645-2700
                                                             Newark, New Jersey 07102


payments are not required until his release date, and the Defendant has not
been released, the Defendant is not yet required to pay the $200 a month.
Therefore, the Court should dismiss the Defendant’s request to delay or stay
the $200 monthly restitution payments as moot.

                                                    Respectfully submitted,

                                                    CRAIG CARPENITO
                                                    United States Attorney


                                                    s/ Sarah Devlin
                                                    By: SARAH DEVLIN
                                                    Assistant U.S. Attorney
